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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
   UNITED STATES OF AMERICA,                  )
                                              )
               v.                             )       Criminal No. 18-10364-DPW
                                              )
   1) JASIEL F. CORREIA, II, and              )
   2) GENOVEVA ANDRADE,                       )
                                              )
               Defendants                     )


                         SECOND AMENDED PROTECTIVE ORDER

       An assented-to motion having been made by the government for a second amended

protective order in this case, it is hereby ORDERED that:

       As to any discovery materials produced by the government to the defendant during the

discovery process in this case, defense counsel may question or confront potential witnesses about

matters or information contained in the discovery materials produced by the government, and may

disclose such materials and their contents to the defendant and to those members of defense

counsel’s staff who are necessary to assist counsel in this case. The discovery materials and

information contained therein shall be used solely for the purpose of litigating matters in this case

and shall not be divulged to any other person, except that the government may disclose the

interview reports of the individuals identified in the Second Superseding Indictment as MJ Vendor

#1, MJ Vendor #2, MJ Vendor #3, MJ Vendor #4, and MJ Vendor #5 (hereinafter, “the protected

information”) to the Massachusetts Cannabis Control Commission (“CCC”) so that the CCC can

perform its legitimate regulatory duties.

       The CCC understands that, under the order, it is permitted to use the protected information

in the performance of its legitimate regulatory duties. This includes the CCC’s making public
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disclosures that, in sum and substance, in its interactions with law enforcement officials, it has not

identified any concerns regarding suitability for licensure. It also includes disclosing relevant

protected information to the extent necessary in connection with its investigative and

administrative proceedings, as well as in connection with related state court proceedings. The

CCC will continue to take reasonable precautions to limit the scope of disclosure of protected

information. To the extent that the CCC believes any additional explicit disclosure of protected

information is necessary, the CCC again agrees to seek this Court’s permission before disclosing

such information.

       This Order does not apply to any such materials that are already in the public record.



 /s/ Douglas P. Woodlock
_____________________________
HON. DOUGLAS P. WOODLOCK
United States District Judge


Dated: June 26, 2020

                      Acknowledgment of Second Amended Protective Order

          We, the undersigned, declare that we have read and understand the attached Proposed
Second Amended Protective Order in United States v. Correia et. al., 18-10364-DPW. We agree
that, if the order is entered by the Court, the CCC will be bound by its terms. We understand that,
if the order is entered by the Court and the CCC violates its terms, the CCC may be liable for
contempt of court.

                                                      /s/ Christine Baily
                                                      Christine Baily, Esq.
                                                      General Counsel
                                                      Mass. Cannabis Control Commission

                                                      /s/ Yaw Gyebi
                                                      Yaw Gyebi
                                                      Chief of Investigation and Enforcement
                                                      Mass. Cannabis Control Commission

Date: June 25, 2020
